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 5   Attorney for Defendant
     GUADALUPE GUTIERREZ
 6
 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,              )   CASE NO. S-08-CR-292
                                            )
11                      Plaintiff,          )   STIPULATION; ORDER
                                            )
12   v.                                     )   Date: March 8, 2011
                                            )   Time: 9:15 a.m.
13   GUADALUPE GUTIERREZ,                   )   Judge: Hon. Lawrence K. Karlton
                                            )
14                                          )
                        Defendant.          )
15                                          )
                                            )
16
17        Defendant, GUADALUPE GUTIERREZ, through Christopher Haydn-Myer,
18   attorney at law, and the United States of America, through Assistant
19   U.S. Attorney Jason Hitt, agree as follows:
20        It is hereby stipulated that the status conference currently set
21   for March 8th, 2011 be vacated and a new status conference is to be
22   scheduled on April 26th, 2011 at 9:15 a.m.
23         It is further stipulated and agreed between the parties that the
24   time under the Speedy Trial Act should be excluded from today’s date
25   to April 26th, 2011, under Local Code T4, Title 18, United States Code
26   section 3161(h)(7)(B)(iv).      The request for additional time is to give
27   counsel time to complete a plea agreement and reach a resolution.
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 1   Dated: March 7th, 2011
                                            Respectfully submitted,
 2
                                            /s/ Christopher Haydn-Myer
 3                                          ________________________________
                                            CHRISTOPHER HAYDN-MYER
 4                                          Attorney for Defendant
                                            Guadalupe Gutierrez
 5
 6   DATED: March 7th, 2011                 BENJAMIN B. WAGNER
                                            United States Attorney
 7
                                            /S/ Christopher Haydn-Myer for
 8                                          Jason Hitt
                                            Assistant U.S. Attorney
 9
10
11                                       ORDER
12        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the status conference
13   currently set for March 8th, 2011 be vacated and a new status
14   conference is to be scheduled on April 26th, 2011 at 9:15 a.m., and
15   that the time under the Speedy Trial Act should be excluded from
16   today’s date to April 26th, 2011, under Local Code T4, Title 18,
17   United States Code section 3161(h)(7)(B)(iv).
18
19   Dated: March 7, 2011
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